

ORDER

PER CURIAM:
AND NOW, this 17th day of July, 2000, Charles B. Dinsmore having been suspended from the practice of law in the State of New Jersey for a period of three months by Order of the Supreme Court of New Jersey dated December 7, 1999; the said Charles B. Dinsmore having been directed on May 15, 2000, to inform this Court of any claim he has that the imposition of the identical or comparable discipline in this Commonwealth would be unwarranted and the reasons therefor; and no response having been filed, it is
ORDERED that Charles B. Dinsmore is suspended from the practice of law in this Commonwealth for a period of three months, and he shall comply with all the provisions of Rule 217, Pa.R.D.E.
